         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 1 of 42




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


SignalQuest, Inc.

     v.                                   Civil No. 11-cv-392-JL
                                          Opinion No. 2016 DNH 099
Tien-Ming Chou,
OneQue Corporation, and
Bravotronics Corporation


                              MEMORANDUM ORDER


     The parties to this patent infringement action dispute the

construction of the claims in three reissued patents for an

omnidirectional tilt and vibration switch.           Plaintiff and

counterclaim defendant SignalQuest commenced this action seeking

declaratory judgment that its products did not infringe

defendant Ten-Ming Chou’s U.S. Patent No. 6,706,979.1             It later

amended its complaint to assert the three related patents in

question here -- United States Patent Nos. 7,067,748C1,

7,326,866C1, and 7,326,867C1 (collectively, the “SignalQuest

patents”) -- against defendants and counterclaimants OncQue

Corporation, Bravotronics Corporation, and Chou, who is an

officer of both companies.        This court has subject-matter




     1 The court construed the claims of the ‘979 patent in a
previous order. See document no. 75.
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 2 of 42




jurisdiction over this action pursuant to 28 U.S.C. §§ 1338(a)

(patents) and 1331 (federal question).

     The SignalQuest patents were granted originally on June 27,

2006, and February 5, 2008.        They claim an omnidrectional tilt

and vibration sensor, which can be used to switch an electrical

circuit ON or OFF.       Tilt the sensor one way, and a free-moving

conductive element comes in contact with two terminals,

completing a conductive path and turning the circuit ON; tilt it

another way, and the conductive element moves out of contact

with one or both of the terminals, disrupting the conductive

path and turning the circuit OFF.

     After SignalQuest amended its complaint to accuse the

defendants of infringing these patents, the USPTO instituted an

ex parte reexamination at the defendants’ request.             This court

stayed the instant action as to these patents while the USPTO

reexamined them.      All three patents ultimately reissued in

October 2014, though SignalQuest cancelled some claims, rewrote

or amended others, and added still other claims in the process.

The court lifted the stay after the patents reissued and held a

hearing on the parties’ proposed claim constructions on January

26, 2016.2



     2 At the same time, the court also heard the parties’
arguments on defendants’ motion for summary judgement, which the
                                       2
      Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 3 of 42




    The parties differ over the meanings of a number of terms

that appear in several claims of the SignalQuest patents.              After

reviewing the parties’ submissions and conducting a hearing in

accordance with Markman v. Westview Instruments, Inc., 517 U.S.

370, 388 (1996), the court construes the disputed claim terms as

set forth below.


    Applicable legal standards

    “[A] patent claim is that ‘portion of the patent document

that defines the scope of the patentee's rights.’”          Teva Pharm.

USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 835 (2015).          The

proper construction of a patent’s claims is a question of law,

albeit one with “evidentiary underpinnings,” that falls

“exclusively within the province of the court.”         Id. at 837-38

(quoting Markman, 517 U.S. at 372).       “[T]he words of a claim are

generally given their ordinary and customary meaning,” i.e.,

“the meaning that the term would have to a person of ordinary



court ultimately denied. See document no. 111. The defendants
have moved the court to reconsider that decision. See document
no. 112. The court is not persuaded that it committed a
manifest error of law in concluding, based on Halo Elecs., Inc.
v. Pulse Elecs. Inc., 769 F.3d 1371, 1381 (Fed. Cir. 2014) and
Transocean Offshore Deepwater Drilling, Inc. v. Maersk
Contractors USA, Inc., 617 F.3d 1296, 1309 (Fed. Cir. 2010),
that the location of a sale or offer for sale under 35 U.S.C.
§ 271 is not limited to the location where title transfers.
Accordingly, the defendants’ motion is denied.

                                    3
      Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 4 of 42




skill in the art in question at the time of the invention.”

Phillips v. AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005)

(en banc) (quotation marks omitted).       The court may depart from

the claim’s plain meaning under limited circumstances, such as

when the patentee acts as his own lexicographer, id. at 1316-17,

or clearly disclaims or disavows the claim’s scope in the

specification or during prosecution, id. at 1317.

    The court does not perform this analysis in a vacuum, but

construes the claim terms in the context of the intrinsic

record, that is, the claims themselves, the patent

specification, and the prosecution history.        Id. at 1313-14.     At

the same time, “[w]hen consulting the specification to clarify

the meaning of claim terms, courts must take care not to import

limitations into the claims from the specification.”          Abbott

Labs. v. Sandoz, 566 F.3d 1282, 1288 (Fed. Cir. 2009).          Though

“less significant than the intrinsic record” to this inquiry,

the court may also “rely on extrinsic evidence, which consists

of all evidence external to the patent and prosecution history,

including expert and inventor testimony, dictionaries, and

learned treatises.”    Phillips, 415 F.3d at 1317 (quotation marks

omitted).




                                    4
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 5 of 42




     Analysis

     The parties dispute the meaning of 19 terms as they appear

in several independent and dependent claims across all three

SignalQuest patents.3       The court resolves those disagreements as

follows, construing certain terms together as the parties

proposed or as seems appropriate to the court.


     A.      “Diameter” terms

     The parties dispute the construction of the terms

“diameter,” “first diameter,” and “second diameter.”             These

terms appear in, for example, claim 22 of the ‘748 patent, which

recites, among other limitations:

     a first electrically conductive element having a first
     diameter on a proximate portion of the first
     electrically conductive element and a second diameter
     on a distal portion of the first electrically
     conductive element, where the second diameter is
     smaller than the first diameter . . . .

Drawing on the expertise of Merriam-Webster, SignalQuest

proposes that “diameter” should be construed as “the distance




     3 While the specifications of the three related SignalQuest
patents are not identical, they are quite similar. Neither
party contends that differences in the specifications bear on
the construction of the claim terms at issue here -- reasonably
so, as the specifications appear to the court to be
substantively identical in those particulars relied on by the
parties and relevant to the terms at issue. The court draws its
examples from the specification of the ‘748 patent.

                                       5
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 6 of 42




through the center of something from one side to the other,” and

that “[a] first diameter is different from a second diameter in

the claims.”      The defendants request that all three of these

terms be construed to cover “any diameter, inside or outside.”

Finding the plaintiff’s definition of “diameter” to comport with

the intrinsic evidence, the court adopts it as the meaning of

that term.

     The parties do not disagree that a shape’s diameter is the

measurement of a line drawn from one side of a shape -- often,

but not necessarily, a circle -- to another, running through the

center.4    Rather, they dispute its scope.         O2 Micro Int'l Ltd. v.

Beyond Innovation Tech. Co., 521 F.3d 1351, 1362-63 (Fed. Cir.

2008) (Markman requires district courts to resolve disputes

between the parties as to claim terms’ meaning or scope).

Specifically, the defendants contend that SignalQuest’s proposed

construction would limit the measurement to the “outside”

diameter -- that is, the distance measured through the center

from one external surface to the other.           Accordingly, defendants

argue, the court ought to clarify that the diameters of the

elements recited in the claims of the SignalQuest patents may be



     4 The defendants agreed to this much of the plaintiffs’
definition of the term “diameter.” See Defendants’ Reply Brief
(document no. 101) at 1-2.

                                       6
      Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 7 of 42




measured from one internal surface to another (an “inside”

diameter) or from one external surface to another (an “outside”

diameter) -- and that the term “diameter” as used in the

SignalQuest patents encompasses both of these measurements.

    In support of their proposed definitions, both parties

point to Figure 2 of the ‘748 patent and the accompanying

written description.




Defendants contend that D3 in this figure describes an “inside”

diameter of the distal portion of the first end cap, whereas D2


                                    7
      Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 8 of 42




and D1 describe the “outside” diameters of the distal and

proximate portions, respectively.       As SignalQuest points out,

the specification distinguishes between D2, the diameter of the

distal portion, and D3, the diameter of the “cylindrical gap,”

which is, itself, “located central to the distal portion of the

first end cap.”   Id. at 4:66-5:7.      The specification further

describes the distal portion as containing an “inner surface,

the diameter of which is equal to or smaller than the diameter

D3 of the cylindrical gap.”     Id. at 5:26-30.      Figure 4 reflects

a similar layout for the second end cap.        See, e.g., id. fig. 4;

id. at 6:14-44.   Accordingly, when invoking the term “diameter,”

the specification indicates which portions of which elements

should be measured.    The claims do likewise.       E.g., id. at

claims 22, 32, 43, 55.

    Neither the claims nor the specification refer to an

“inside” or “outside” diameter but rather, as these references

make clear, describe the diameters of specific elements of the

sensor.   None of the intrinsic evidence here suggests that the

patentee intended to depart from the traditional, geometric

definition of the term.     Cf. SkinMedica, Inc. v. Histogen Inc.,

727 F.3d 1187, 1203-04 (Fed. Cir. 2013) (redefinition requires

at least implicit disclaimer of plain and ordinary meaning).

Accordingly, the court adopts the plaintiff’s proposed


                                    8
       Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 9 of 42




construction as the plain and ordinary meaning of the term

“diameter.”

      As for the “first diameter” and “second diameter” terms,

using “first” and “second” “is a common patent-law convention to

distinguish between repeated instances of an element or

limitation.”    3M Innovative Properties Co. v. Avery Dennison

Corp., 350 F.3d 1365, 1371 (Fed. Cir. 2003).          The patentee

appears to have done so here.       As an example, claim 22 of the

‘748 patent recites a “a first electrically conductive element

having a first diameter on a proximate portion [of that element]

and a second diameter on a distal portion [of that element],

where the second diameter is smaller than the first diameter.”

Other claims also recite a “first diameter” and “second

diameter” in similar manner.       See, e.g., ‘748 patent claims 43,

55; ‘866 patent claims 20, 28, 42; ‘877 patent claims 26, 46,

49.   The claim language is thus unambiguous that the “first

diameter,” the diameter of the proximate portion of the

electrically conductive element, is distinct from the “second

diameter,” the diameter of the distal portion of that element.

Under the plain language of the claims, the second diameter must

be smaller than the first.

      The court accordingly construes the claim language to mean

that the “first diameter” is distinct from the “second


                                     9
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 10 of 42




diameter.”   The court need not read the first and second

diameters’ respective lengths into that constructions; the

claims themselves do so with sufficient clarity.


    B.       “Electrically conductive element”

    The parties also dispute the meaning of the term

“electrically conductive element.”      Again, claim 22 of the ‘748

patent is illustrative.    It recites, among other limitations, a

sensor having:

    a first electrically conductive element having a first
    diameter on a proximate portion of the first
    electrically conductive element and a second diameter
    on a distal portion of the first electrically
    conductive element, where the second diameter is
    smaller than the first diameter;

    a second electrically conductive element having a
    first diameter on a proximate portion of the second
    electrically conductive element and a second diameter
    on a distal portion of the second electrically
    conductive element, where the second diameter is
    smaller than the first diameter . . . .

SignalQuest asks the court to construe this term as “an element

able to conduct electricity.”     The defendants seek a

construction that incorporates this meaning (“any object that

conducts electricity across the object”) but also adds the

limitation that “all parts of element need not be entirely

conductive.”     In short, the parties differ over whether the

electrically conductive element as claimed in SignalQuest’s

patents need be entirely conductive.       Finding no support in the

                                   10
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 11 of 42




intrinsic evidence or the evidence presented for limiting the

claim as requested by the defendants, the court adopts the

plaintiff’s proposed construction:       “an element able to conduct

electricity.”

    This construction is supported by the specification.           It

describes the sensor as containing “an electrically conductive

element embodied as the first end cap, . . . [and] a second

electrically conductive element embodied as the second end cap .

. . .”   ‘748 patent at 4:14-18.      The specification is not devoid

of guidance as to the composition of the electrically conductive

end caps.   It suggests that they “may be constructed from a

composite of high conductivity and/or low reactivity metals, a

conductive plastic, or any other conductive material.”          Id. at

4:23-26; 6:10-13.   The specification further explains that this

element’s “main function” is to “to provide a connection to

allow an electrical charge introduced to the first end cap to

traverse the conductive spheres and be received by the second

end cap . . . .”    Id. at 4:52-55.     In order to perform that

function, the element in question must be conductive -- that is,

able to conduct electricity.     Id. at 4:56-58 (“[M]any different

shapes and sizes of end caps may be used as long as the

conductive path is maintained.”).       On this much, the parties

agreed at oral argument.


                                   11
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 12 of 42




    They disagree about whether every part of the electrically

conductive elements must necessarily be made of a conductive

material.   As defendants point out, nothing in the description

recited above explicitly requires as much.        But the converse is

equally true: this description also does not explicitly state

that something less than every part of this element must be made

of conductive material.     It is, in fact, silent on this point.

In the face of that silence, the court generally will not read

such a limitation into the claim language.        Renishaw PLC v.

Marposs Societa’ per Azioni, 158 F.3d 1243, 1249-50 (Fed. Cir.

1998) (a court generally will not “add a narrowing modifier

before an otherwise general term that stands unmodified in a

claim.”).

    Nor does failing to do so necessarily, as defendants

suggest, “read[] in the word ‘entirely’ before electrically

conductive element.”    Defendants’ Reply (document no. 101) at 3.

Indeed, absent such an added limitation, the electrically

conductive element may be made completely of conductive

material, or it may not -- so long as it is able to conduct

electricity.   “The patentee is free to choose a broad term and

expect to obtain the full scope of its plain and ordinary

meaning unless the patentee explicitly redefines the term or

disavows its full scope.”     Thorner v. Sony Computer Entm't Am.


                                   12
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 13 of 42




LLC, 669 F.3d 1362, 1367 (Fed. Cir. 2012).        Defendants point to

no evidence that the patentee narrowed this term.         The court,

accordingly, will “construe the claim to cover all types of that

structure that are supported by the patent disclosure,” id., and

adopts the plaintiff’s proposed construction.


    C.   “Electrically insulative element”

    The parties also dispute the meaning of the term

“electrically insulative element.”      This term, too, appears --

for purposes of illustration -- in claim 22 of the ‘748 patent,

which recites:

    an electrically insulative element connected to the
    first electrically conductive element and the second
    electrically conductive element, where the distal
    portion of the first electrically conductive element
    fits within a proximate end of the electrically
    insulative element, [and] where the distal portion of
    the second electrically conductive element fits within
    a distal end of the electrically insulative element. .
    . .

SignalQuest proposes that this term means “an element that

prevents or reduces the transmission of electricity.”          The

defendants do not object to this meaning of the term per se, but

ask the court to add, as a further limitation, that “[i]f [the]

claims are somehow valid,” the electrically insulative element

has a “cylindrical not square exterior shape.”        They argue that

an express disclaimer during reexamination precludes SignalQuest

from claiming an electrically conductive element with a square-

                                   13
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 14 of 42




shaped exterior.5       See Defendants’ Opening Claim Construction

Brief at 13-16.

     During the reexamination of the SignalQuest patents, the

examiner initially objected to the claims at issue as obvious in

light of a variety of combinations of prior art.             SignalQuest

traversed that objection as to the majority of its revised

claims by submitting evidence of the commercial success of its

SQ-SEN-200 sensor, the exterior of which is in the shape of a

circular cylinder.6       SignalQuest did not submit evidence of

commercial success in support of, and thus did not traverse the

examiner’s objection to, dependent claim 14 of the ’748 patent,

dependent claim 15 of the ’866 patent, and dependent claim 16 of

the ’867 patent, each of which recited “[t]he sensor of claim 1,




     5 The defendants first raised this estoppel argument in
their motion for summary judgment of invalidity. As the court
explained in denying that motion, this argument is better taken
up in the context of construing the claim at issue than on a
motion for summary judgment before claim construction.
SignalQuest v. Chou, 2016 DNH 35, 17-19; see also Festo Corp. v.
Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 733 (2002)
(“Estoppel is a rule of patent construction that ensures that
claims are interpreted by reference to those that have been
cancelled or rejected.” (internal quotations omitted)).
     6 As defendants’ counsel conceded at oral argument, a
cylinder need not necessarily be circular, though the term
“cylinder” commonly brings the circular variety to mind.

                                       14
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 15 of 42




wherein the electrically insulative element . . . is square-like

in shape.”

    Defendants argue that this cancellation acts as a complete

disclaimer of a non-circular shaped electrically insulative

element, even as to the allowed independent claims.         At the time

it withdrew those claims, SignalQuest explained only that those

claims “have been cancelled, without prejudice, to expedite

allowance.”    E.g., Defendants’ Ex. I (document no. 99-10) at 13.

SignalQuest now explains that it did so, foregoing its appeal,

“because other claims that were allowed made no mention of shape

and therefore broadly covered all shapes, including square

shapes.”     Plaintiff’s Reply Brief (document no. 102) at 4.

    The court “assess[es] whether a patentee relinquished a

particular claim construction based on the totality of the

prosecution history, which includes amendments to claims and

arguments made to overcome or distinguish references.”          Rheox,

Inc. v. Entact, Inc., 276 F.3d 1319, 1326 (Fed. Cir. 2002).

Generally, “[a] patentee who narrows a claim as a condition for

obtaining a patent disavows his claim to the broader subject

matter . . . .”    Festo Corp., 535 U.S. at 737.      Similarly,

“[w]hen the patentee makes clear and unmistakable prosecution

arguments limiting the meaning of a claim term in order to

overcome a rejection, the courts limit the relevant claim term


                                   15
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 16 of 42




to exclude the disclaimed matter.”      SanDisk Corp. v. Memorex

Products, Inc., 415 F.3d 1278, 1286 (Fed. Cir. 2005).           In either

case, the disclaimer “must be clear and unambiguous.”           Seachange

Int'l, Inc. v. C–COR Inc., 413 F.3d 1361, 1373 (Fed. Cir. 2005).

    This one is not.     SignalQuest neither narrowed a claimed

nor made a clear and unmistakable prosecution argument to

overcome the obviousness rejections.       Rather, SignalQuest

cancelled a dependent claim during reexamination.         The

defendants have not offered, and the court has been unable to

find, support for the proposition that cancellation of a

dependent claim necessarily limits the scope of an unamended

independent claim.

    Furthermore, the prosecution history itself demonstrates

that an amendment reciting a specific shape would not have

overcome the examiner’s obviousness objection.        To the contrary,

the examiner rather explicitly excluded considerations

concerning the “size, shape, cost, [and] complexity” of the

sensor from the “explicit teachings of the references” that he

found rendered the claims obvious.      E.g., Defendants’ Ex. E

(document no. 99-6) at 13.     Nor did the examiner invoke the

shape of the SignalQuest SQ-SEN-200 sensor when he found the

requisite nexus between the claims and the sensor’s commercial

success.   That is, so far as the court can tell, the examiner


                                   16
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 17 of 42




did not find that the “sales were a direct result” of the shape

of the product.   See In re Huang, 100 F.3d 135, 140 (Fed. Cir.

1996) (evidence of commercial success “is relevant in the

obviousness context only if there is proof that the sales were a

direct result of the unique characteristics of the claimed

invention”).   Nor did he need to, as the independent claims

ultimately allowed are silent as to the shape of the

electrically insulative element.        Accordingly, SignalQuest did

not clearly disclaim a square-shaped electrically insulative

element to overcome prior art or obtain the claims that were

allowed.

    The defendants’ reliance on Rheox is misplaced.          In that

case, the patentee directed claim 2 of its patent for a method

of treating lead contaminated soil to using TSP as an agent and,

in claim 18, recited an agent selected from a group that

included TSP, phosphate rock, and hydroxyapatite.         After an

anticipation rejection, the patentee cancelled claim 2 and

amended claim 18 to remove the reference to TSP, explaining that

it did so to distinguish the invention from prior art.          The

Federal Circuit Court of Appeals concluded, in light of these

amendments and the patentee’s statement to the examiner, that

the patentee disclaimed use of TSP.        Rheox, 276 F.3d at 1327.

Here, as discussed supra, though SignalQuest withdrew its


                                   17
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 18 of 42




dependent square-shaped claim in the face of an obviousness

rejection, there is no indication that it did so to overcome

that objection.     Nor is there any suggestion that the examiner

rejected SignalQuest’s claims on the basis that the prior art

taught the shape of the electrically insulative element.          To the

contrary, the examiner explained that any argument concerning

size would “not address the explicit teachings of the [prior

art] references.”     E.g., Defendants’ Ex. E (document no. 99-6)

at 13.

    Finally, the fact that SignalQuest submitted evidence of

the commercial success of only a sensor with a circularly

cylinder is not dispositive here.       When traversing an

obviousness objection using evidence of commercial success, a

patentee need not introduce evidence of every conceivable

embodiment.   In re Huai-Hung Kao, 639 F.3d 1057, 1069 (Fed. Cir.

2011).   “It seems unlikely” to this court, as it does to the

Federal Circuit Court of Appeals, “that a company would sell a

product containing multiple, redundant embodiments of a patented

invention.”   In re Glatt Air Techniques, Inc., 630 F.3d 1026,

1030 (Fed. Cir. 2011).     Where, as here, the shape of the sensor

was not a factor in the obviousness analysis, SignalQuest’s

failure to submit evidence of its own square- or otherwise-

shaped embodiment does not, itself, implicate a disavowal.


                                   18
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 19 of 42




    In the absence of a “clear and unambiguous” disavowal, the

court cannot conclude that SignalQuest disclaimed a square-

shaped electrically insulative element by cancelling claim 14 of

the ‘748 patent, claim 15 of the ‘866 patent, and claim 16 of

the ‘867 patent.   See Genentech v. Trustees of the Univ. of

Penn., No. 10-cv-2037, 2011 WL 2259114, at *10-11 (N.D. Cal.,

May 9, 2011) (no disclaimer where prosecution history was

ambiguous as to reason for claim’s cancellation).         SignalQuest’s

proffered explanation for cancelling the claims in question is

not unreasonable, and the record here is less clear than that in

Rheox, on which defendants rely.        Accordingly, the court

construes “electrically insulative element” to mean “an element

that prevents or reduces the transmission of electricity” and

declines to import the defendants’ limitation that it be

“cylindrical not square” in shape.


    D.   “Distal” and “proximate” terms

    The parties further dispute the meaning and definiteness of

the terms “distal end,” “distal portion,” “distal surface,”

“proximate end,” “proximate portion,” and “proximate surface.”

As an example, independent claim 22 of the ‘748 patent invokes

the described ends and portions in the following limitations:

    a first electrically conductive element having a first
    diameter on a proximate portion of the first
    electrically conductive element and a second diameter

                                   19
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 20 of 42




    on a distal portion of the first electrically
    conductive element, where the second diameter is
    smaller than the first diameter,

    a second electrically conductive element having a
    first diameter on a proximate portion of the second
    electrically conductive element and a second diameter
    on a distal portion of the second electrically
    conductive element, where the second diameter is
    smaller than the first diameter,

    an electrically insulative element connected to the
    first electrically conductive element and the second
    electrically conductive element,

    where the distal portion of the first electrically
    conductive element fits within a proximate end of the
    electrically insulative element,

    where the distal portion of the second electrically
    conductive element fits within a distal end of the
    electrically insulative element, and

    where the proximate portion of the first electrically
    conductive element and the proximate portion of the
    second electrically conductive element are located
    external to the electrically insulative element . . .
    .

The aforementioned surfaces appear in dependent claim 38 of the

‘748 patent, which recites:

    [t]he sensor of claim 37, wherein the electrically
    insulative element has a proximate surface and a
    distal surface, wherein the proximate surface and the
    distal surface are substantially parallel to each
    other and at axially opposite ends of the electrically
    insulative element, . . .

Invoking dictionary definitions, and in particular the

dictionaries’ general agreement that the terms “distal” and

“proximate” connote opposites, the plaintiff would have the



                                   20
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 21 of 42




court construe the “distal” terms as “a [portion/end/surface]

opposite in location to a proximate [portion/end/surface]” and

the “proximate” terms as “a [portion/end/surface] opposite in

location to a distal [portion/end/surface].”        Also relying on

dictionary definitions, the defendants contend that these terms

are indefinite as used in the SignalQuest patents.

    A claim is indefinite “if its language, when read in light

of the specification and prosecution history, ‘fails to inform,

with reasonable certainty, those skilled in the art at the time

the patent was filed about the scope of the invention.’”          Eidos

Display, LLC v. AU Optronics Corp., 779 F.3d 1360, 1364 (Fed.

Cir. 2015) (quoting Nautilus, Inc. v. Biosig Instruments, Inc.,

134 S. Ct. 2120, 2124 (2014)).     The defendants here, as “the

part[ies] challenging the patent[,] bear[] the burden of proving

invalidity by clear and convincing evidence.”        Takeda Pharm. Co.

v. Zydus Pharm. USA, Inc., 743 F.3d 1359, 1366 (Fed. Cir. 2014)

(citing Microsoft Corp. v. i4i Ltd. P'ship, 564 U.S. 91, 95

(2011)).   The defendants have not carried that burden as to

these terms.

    Both parties offer similar dictionary definitions that,

they propose, would coincide with the understanding of a person

of ordinary skill in the art as to the meaning of “distal” and

“proximate.”   See Plaintiff’s Opening Claim Construction Brief


                                   21
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 22 of 42




(document no. 100) at 9; Defendants’ Opening Claim Construction

Brief (document no. 99) at 17.         According to these dictionaries,

“distal” means “situated away from the centre of the body, or

from the point of origin . . . .”           Oxford English Dictionary,

http://www.oed.com (May 19, 2016); accord “distal,” Merriam-

Webster’s Collegiate Dictionary 337 (10th ed. 1998).

“Proximate,” in this context, takes on the meaning of

“proximal,”7 which means “next to or nearest the point of

attachment or orientation, central point, or the point of view.”

Merriam-Webster at 941; accord “proximal,” Oxford English

Dictionary, http://www.oed.com (May 19, 2016).            The dictionaries

invoked by both sides agree that “distal” and “proximal” are

frequently used to connote opposites.           See, e.g., Merriam-

Webster at 337, 941; “distal,” Oxford English Dictionary,

http://www.oed.com (May 19, 2016); see also Lamoureux v.

AnazaoHealth Corp., 669 F. Supp. 2d 227, 259 (D. Conn. 2009)

(finding ordinary meaning of “distal” to be “‘remote from the

point of view,’ or ‘the far’ end, the opposite of proximal”);




     7 The court does not find persuasive the defendants’
argument that use of the term “proximate” instead of “proximal”
renders the claim term indefinite. See Defendants’ Opening
Claim Construction Brief (document no. 99) at 21. Even the
dictionary upon which the defendants rely for a definition of
“proximal” equates it with “proximate.” Merriam-Webster at 941.

                                       22
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 23 of 42




EVM Sys., LLC v. Rex Med., L.P., No. 6:13-CV-184, 2015 WL

4911090, at *5 (E.D. Tex. Aug. 17, 2015) (“‘Distal end’ merely

refers to one of the two ends on a device -- i.e., opposite the

proximal end”).

    The defendants contend that the terms are indefinite

because, when modifying the claimed “portions,” the SignalQuest

patents use “distal” when they should use “proximate,” and vice-

versa.   That is, defendants argue, the “proximate portion” of

claim 22 references the portion of the electrically conductive

elements that is away from the center of the apparatus and so

should be “distal,” while the “distal portion” of the same

references the portion of the electrically conductive elements

that is closer to the center, and so should be “proximate.”            See

Defendants’ Opening Claim Construction Brief (document no. 99)

at 17-18.   This argument presupposes that the terms “proximate”

and “distal” are construed so that the center of the entire

apparatus (not just the electrically conductive element, or some

other element) serves as the reference point from which any

portion is near or far.    As discussed above, however, the

dictionary definitions of the terms allow for other reference

points, such as a point of origin, attachment, view, or the

opposite side.




                                   23
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 24 of 42




    The lack of a specified reference point from which a

portion is “distal” or “proximate” does not condemn these terms

to indefiniteness.   The claims and specification consistently

describe the “distal portion” as having a smaller diameter than

the “proximate portion.”    See, e.g., ‘748 patent claim 22; id.

fig. 2; id. at 4:29-31, 4:66-5:1, 6:16-20, 6:36-38.         The patents

further describe the “distal portion” of the “end caps” -- the

electrically conductive elements -- as “an extension of the

proximate portion” of the same.      E.g. id. at 5:22-24, 6:60-63.

Accordingly, the court concludes, a person of ordinary skill in

the art would be able to study the disclosed device, in light of

the SignalQuest patents, and determine which portion of the

electrically conductive device is “proximate” and which is

“distal” with reasonable certainty.

    The same goes for the “proximate end” and “distal end” of

the electrically insulative element.       The defendants argue that

these terms are likewise indefinite because neither the

“proximate end” nor the “distal end” of the electrically

insulative element of claim 22 is more “distal” or “proximate”

from the center than the other end.      This, again, presumes the

center of the apparatus as the relevant frame of reference.

Here, the electrically insulative element is disclosed as having

only two ends -- one “proximal” and one “distal.”         See, e.g.,


                                   24
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 25 of 42




‘748 patent claim 22; ‘748 patent at 5:34-37.        The distal

portion of one electrically conductive element “fits within” one

of those ends; the distal portion of a second electrically

conductive element “fits within” the other. ‘748 patent

claim 22.   In this context, the patent employs the terms

“distal” and “proximal” in a manner similar to “first” and

“second,” and by them appears to merely differentiate two

identical ends of a cylindrical electrically insulative element.

See ‘748 patent figs. 1 and 3; ‘748 patent at 5:34-43.

Accordingly, the court concludes that the defendants have not

shown that the terms “distal end” and “proximal end” fail to

inform a person of skill in the art of the claims’ scope with

“reasonable certainty.”    Eidos Display, 779 F.3d at 1364 (Fed.

Cir. 2015); see also EVM Sys., 2015 WL 4911090, at *5

(concluding that, where the apparatus disclosed had only two

ends, “[a] person of ordinary skill in the part would be able to

study an apparatus in light of the '670 Patent and determine

which end is the ‘distal end’.”).

    As for the “proximate surface” and “distal surface” recited

in, for example, claim 38 of the ‘746 patent, the defendants

fail to support their argument that it is “certainly impossible

to determine” which surface is which, and that invoking the

terms “distal” and “proximate” in connection with those surfaces


                                   25
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 26 of 42




“make[s] no sense.”   Because the defendants “point[] to no

evidence showing that skilled artisans would find [these terms]

lacking reasonable certainty in . . . scope,” Apple Inc. v.

Samsung Elecs. Co., 786 F.3d 983, 1003 (Fed. Cir. 2015), the

court cannot conclude that they are indefinite.

    The court therefore concludes that the terms “distal end,”

“distal portion,” “distal surface,” “proximate end,” “proximate

portion,” and “proximate surface” are not indefinite, and adopts

SignalQuest’s proposed constructions.


    E.   “Surface” terms and “cylindrical lip”

    The parties also dispute several terms appearing in, for

example, claims 28 and 35 of the ‘748 patent.        Several of these

terms relate to various “surfaces” of the elements of the

claimed invention, including the terms “top surface,” “outer

surface,” “bottom surface,” “single internal surface,” and “flat

end surface.”   They also dispute the term “cylindrical lip,”

which is an element defined by certain of the disputed surfaces.

The court addresses each of these terms in turn.


         1.   “top surface,” “outer surface,” and “bottom
         surface”

    The defendants contend that the terms “top surface,” “outer

surface,” and “bottom surface” are indefinite.        SignalQuest

contends they are not, and proposes constructions.         The terms

                                   26
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 27 of 42




appear, for example, in claim 28 of the ‘748 patent, which

recites:

    The sensor of claim 22, wherein the distal portion of
    the first electrically conductive element further
    comprises:

           a first top surface;

           a first outer surface; and

           a first bottom surface, wherein the first top
           surface, the first outer surface, and the first
           bottom surface form a first cylindrical lip of
           the first electrically conductive element, and

    wherein the distal portion of the second electrically
    conductive element further comprises:

           a second top surface;

           a second outer surface; and

           a second bottom surface, wherein the second top
           surface, the second outer surface, and the second
           bottom surface form a second cylindrical lip of
           the second electrically conductive element.

In arguing that these “surface” terms are indefinite, the

defendants disassociate these terms from the claim language and

the specification.   Absent any point of reference, and invoked

in a vacuum, the terms “top surface,” “bottom surface,” and

“outside surface” mean little.     But the court construes the

claim language in the context of the claims and the

specification.   See CardSoft, (assignment for the Benefit of

Creditors), LLC v. VeriFone, Inc., 807 F.3d 1346, 1350 (Fed.

Cir. 2015) (“The person of ordinary skill in the art is ‘deemed


                                   27
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 28 of 42




to read the claim term not only in the context of the particular

claim in which the disputed term appears, but in the context of

the entire patent,’ including the specification and the

prosecution history.” (quoting Phillips, 415 F.3d at 1313)).            A

claim term is only indefinite if, read in that context, it fails

to inform a person of skill in the art at the relevant time of

the claim’s scope.    Eidos Display, 779 F.3d at 1364.       In that

context, these terms accomplish that aim.

    For example, the term “top surface” is used in the claims

to refer to a surface of the proximate portion of the

electrically conductive elements, a surface of the distal

portion of the same, and a surface of the electrically

insulative element.   E.g., ‘748 patent claims 28, 30, 35.         In

each instance, the surface described is that on the outer

circumference of a cylinder or disk.       See, e.g., id. figs. 1-4;

id. at 4:29-40 (the “top surface” of the proximate portion of

the electrically conductive element, which is shaped like a

disk, is the surface that “runs perpendicular to the flat end

surface” and the “internal surface” thereof), 5:8-14

(“Progression from the proximate portion of the first end cap to

the distal portion of the first end cap is defined by a step

where a top portion of the step is defined by the top surface of

the proximate portion, . . . and a bottom portion of the step is


                                   28
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 29 of 42




defined by the top surface of the distal portion.”), 5:34-51

(“the top surface of the central member,” which may be “tube-

like in shape,” “defines the outer surface of the central

member”).

     Similarly, the claims invoke a “bottom surface” to refer to

the surface that is on the inner circumference of the distal

portion of the electrically conductive element and the

electrically insulative element -- that is, the hollow center of

both of those cylindrically-shaped elements.8            E.g., ‘748 patent

claims 28, 29, 31.       The specifications support this

interpretation.       See, e.g., id. figs. 1-4; id. at 5:1-6 (“The

bottom surface of the distal portion defines an exterior portion

of a cylindrical gap located central to the distal portion of

the first end cap”), 5:44-48 (“the bottom surface of the central

member defines a hollow center”).

     Finally, the claims recite an “outer surface” of the distal

portion of the electrically conductive element.             E.g., ‘748

patent claim 28.       The specification describes this “outer

surface” as one “that joins the top surface and the bottom

surface” of that portion of the electrically conductive element.




     8 As noted supra, a cylinder in this context need not
necessarily have a circular cross-section.

                                       29
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 30 of 42




E.g., ‘748 patent at 5:15-17; see also id. figs. 2 and 4; id. at

5:24-26.

    Defendants argue that these terms lack clarity because

independent claim 22, from which claim 28 depends, places that

“distal portion of the . . . electrically conductive element[s]

. . . inside the electrically insulative element.”         That is,

according to the defendants, because the surfaces of the distal

portion of the electrically conductive element are inside the

electrically insulative element, a person of ordinary skill in

the art would not understand them to be “outside,” “top,” or

“bottom” surfaces of the electrically conductive element.

Taking these terms in a vacuum, divorced from that evidence, the

court understands how defendants’ counsel may be confused by

this description of the “top surface” of the electrically

insulative element as an “outer surface.”       But the patentee does

not recite these terms in a vacuum.      As discussed above, the

intrinsic evidence consistently describes each “surface” with

respect to and relative to the structure it, in part,

circumscribes.   In the context of the patent as a whole, see

CardSoft, 807 F.3d at 1350, the court concludes that a person of

ordinary skill in the art at the time of the invention would be

able to ascertain the positions of the claimed surfaces with




                                   30
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 31 of 42




reasonable certainty.    Therefore, the court cannot find these

terms indefinite.

    At the same time, the plaintiff’s constructions, drawn from

dictionary definitions, do nothing to clarify the relative

positions of these surfaces.     Instead, they suffer from the

malady against which the Federal Circuit Court of Appeals

cautioned in Phillips, where “heavy reliance on the dictionary

divorced from the intrinsic evidence risks transforming the

meaning of the claim term to the artisan into the meaning of the

term in the abstract, out of its particular context, which is

the specification.”     415 F.3d 1321.   In the absence of a

construction from the defendants, and unconvinced by the

plaintiff’s dictionary definitions, the court exercises its

“independent obligation to determine the meaning of the claims,

notwithstanding the views asserted by the adversary parties,”

Exxon Chem. Patents, Inc. v. Lubrizol Corp., 64 F.3d 1553, 1555

(Fed. Cir. 1995), draws on the intrinsic evidence, and construes

the term “top surface” to mean “the surface of the outer

circumference,” the term “bottom surface” to mean “the surface

of the inner circumference,” and the term “outer surface” to

mean “the surface that joins the top surface and the bottom

surface.”




                                   31
         Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 32 of 42




             2.    “Single internal surface”

     The parties also dispute the meaning of the term “single

internal surface.”       It appears, for example, in claim 35 of the

‘748 patent, which recites:

     The sensor of claim 22, wherein a top surface of the
     distal portion of the first electrically conductive
     element and a top surface of the proximate portion of
     the first electrically conductive element are
     connected to each other by only a single internal
     surface that is substantially perpendicular to both
     the top surface of the distal portion of the first
     electrically conductive element and the top surface of
     the proximate portion of the first electrically
     conductive element, . . . .

SignalQuest proposes that a “single internal surface” is “one

interior surface.”       Defendants propose, instead, that it means

the “[p]ortions of conductive element connected by only one

surface and that surface is covered by insulative element.”

     Though the defendants propose a construction, they offer no

argument on its behalf.9        Rather, they draw on their

indefiniteness arguments as to the other “surface” terms,

arguing that use of the word “interior” with respect to this

surface is inconsistent with use of the terms “outer surface”

and “top surface” in, for example, claim 28 of the ‘748 patent.



     9 Even if they had, defendants’ proposed construction
relates to the portions of the electrically conductive element
connected to the “single internal surface,” not that term
itself.

                                       32
      Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 33 of 42




As discussed supra Part II.E.1, the court has rejected the

defendants’ indefiniteness argument with respect to the terms

“outer surface” and “top surface” because a person of ordinary

skill in the art, reading the claims in light of the

specification and the patent as a whole, would be able to

ascertain the positions of these surfaces with reasonable

certainty.     The court rejects defendants’ position here for the

same reason.

      As with the top, bottom, and outer surface terms, the

specification describes the position of the “internal surface”

relative to both the proximate portion and distal portion of the

electrically conductive elements.        The specification describes

the “internal surface” in question as follows:         “The proximate

portion [of the end caps] also contains an internal surface

located on a side of the proximate portion that is opposite to

the flat end surface, where the top surface runs perpendicular

to the internal surface.”     E.g., ‘748 patent at 4:35-39, 6:22-

26.   It further explains:

      Progression from the proximate portion of the [end
      caps] to the distal portion of the [end caps] is
      defined by a step where a top portion of the step is
      defined by the top surface of the proximate portion, a
      middle portion of the step is defined by the internal
      surface of the proximate portion, and a bottom portion
      of the step is defined by the top surface of the
      distal portion.



                                    33
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 34 of 42




E.g., ‘748 patent at 5:8-14, 6:45-52.       Also as with the other

surface terms, plaintiff’s proposed construction offers little

more than synonyms for the words of this term -- “one” for

“single” and “interior” for “internal.”       In the context of the

SignalQuest patents, however, the surface in question is more

specifically defined by the intrinsic evidence as “one surface

on a side of the proximate portion of the electrically

conductive element that is opposite to the flat end surface.”

The court adopts that construction.


         3.    “Flat end surface”

    Claim 24 recites “[t]he sensor of claim 22, wherein the

first electrically conductive element further comprises a flat

end surface located on a side opposite the distal portion of the

first electrically conductive element . . . .”        Relying

primarily on dictionary definitions of “flat” and “end,”

SignalQuest proposes that the “flat end surface” of this claim

must be “[a] boundary surface that is smooth, level, or even.”

At oral argument, the defendants agreed to this construction.

The court, accordingly, adopts it.


         4.    “Cylindrical lip”

    The parties initially requested that the court construe the

term “cylindrical lip,” which appears, for example, in claim 28


                                   34
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 35 of 42




of the ‘748 patent.   At oral argument, however, counsel for the

defendants agreed that, should the court conclude that the

“surface” terms lacked ambiguity, the “cylindrical lip” is the

shape described by the top, bottom, and outer surfaces, as

recited in claim 28 of the ‘748 patent, claim 26 of the ‘866

patent, and claim 31 of the ‘867 patent.       Defendants’ counsel

also conceded that the cylindrical lip need not be “circular,”

and expressly withdrew that portion of their proposed

construction.   Plaintiff’s counsel likewise agreed that the

intrinsic evidence -- specifically, the claim language and the

specification -- defines this term with sufficient clarity.

    For the reasons discussed supra Part II.E.1, the court has

concluded that the “surface” terms are not indefinite.          In light

of that determination, the defendants’ concessions and

plaintiff’s agreement appear to the court to resolve any actual

dispute between the parties as to the proper scope of the term

“cylindrical lip.”    In the absence of such a dispute, the court

need not, and accordingly does not, construe the claim term.

Cf. O2 Micro Int'l, 521 F.3d at 1362-63 (Fed. Cir. 2008)

(Markman requires district courts to resolve disputes between

the parties as to claim terms’ meaning or scope).




                                   35
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 36 of 42




    F.   “Equal in dimension”

    The parties also disagree over the meaning of the term

“equal in dimension” in the context of the SignalQuest patents.

This term appears in, for example, dependent claim 26 of the

‘748 patent, which recites “[t]he sensor of claim 22, wherein

the first electrically conductive element and the second

electrically conductive element are equal in dimension.”

Plaintiff proposes that this term means that the described

elements must be “[l]ike or alike in measurable extent of some

kind, such as length, breadth, depth, or height.”         Defendants

contend that it means that “[a]ny two dimensions are the same.”

    As for the term “dimension,” at oral argument, the parties

agreed that, in this context, it refers to geometric dimensions,

such as length, breadth, depth, height, etc.        The specification

supports this construction.     It explains that, in the preferred

embodiment, “dimensions of the second end cap are preferably the

same as dimensions of the first end cap,” so as to allow the

distal portions of the end caps -- the electrically conductive

elements -- “to fit within the hollow center of the central

member,” that is, the electrically insulative element.          E.g.,

‘748 patent at 5:44-48, 7:5-11.      The suggestion that the two end

caps having equal dimensions would allow a portion of both to

fit within the opposite ends of the same hollow cylinder


                                   36
        Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 37 of 42




suggests that the dimensions in question are measurable and of

the geometric variety.

    The term “equal” does not require a construction beyond its

plain and ordinary meaning.        SignalQuest invokes its dictionary

definition (“like or alike”) in an effort to avoid defining the

term with itself.      The defendants agreed, at oral argument, to

SignalQuest’s construction so long as “like or alike” means

“equal.”    Invoking the symmetric property of equality5 (as seems

particularly appropriate here), the court concludes that the

parties agree that “equal” means just that -- equal.

    The parties’ disagreement lies, then, in whether the claim

requires the electrically conductive elements to have more than

one equal dimension.       Plaintiff suggests that the “any kind” of

the dimensions must be equal.        Defendants propose that “any two

of the dimensions” must be the same.          Finding no support for the

latter proposition in the intrinsic evidence, and the defendants

having offered none, the court declines to import this

limitation into the construction of this term.           See Thorner 669

F.3d at 1367 (“The patentee is free to choose a broad term and

expect to obtain the full scope of its plain and ordinary

meaning unless the patentee explicitly redefines the term or



    5 If a = b, then b = a. See William T. Parry & Edward A.
Hacker, Aristotelian Logic 255 (1991).
                                      37
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 38 of 42




disavows its full scope.”).     Accordingly, the court construes

the term “equal in dimension” to mean “equal in any geometric

dimension.”


    G.     “Plastic”

    The parties dispute the meaning of the term “plastic.”             It

appears in, for example, claim 27 of the ‘748 patent, which

claims “[t]he sensor of claim 22, wherein the electrically

insulative element is fabricated from a material selected from

the group consisting of plastic and glass.”        SignalQuest

proposes that plastic, in this context, is a “substance or

material easily shaped or molded,” while defendants suggest it

is “[a]ny moldable material.”

    Both parties base these constructions on dictionary

definitions.   Both zero in on the adjectival definition of

“plastic,” which connotes that “plastic” is “capable of being

molded.”   See “plastic,” Merriam-Webster at 890-91.        Both

ignore, however, the definitions of “plastic” in its noun form:

a “synthetic material made from a wide range of organic

polymers, such as polyethylene, PVC, nylon, etc., that can be

moulded into shape while soft, and then set into a rigid or

slightly elastic form.”    Oxford University Press Dictionary,

http://www.oxforddictionaries.com (Jan. 22, 2016).         See also

“plastic,” Merriam-Webster at 890-91 (“any of numerous organic

                                   38
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 39 of 42




synthetic or processed materials that are mostly thermoplastic

or thermosetting polymers of high molecular weight and that can

be made into objects, films, or filaments.”).

    In construing claim terms, the court looks to the intrinsic

evidence before turning to dictionary definitions and may adopt

such definitions only if they comport with the intrinsic

evidence.    See Phillips, 415 F.3d at 1320-23.      Here, the plain

language of the claims, as well as the specifications, suggest

that the patent uses the term “plastic” to indicate from what

substance the element in question is made, not to describe the

particular characteristics of that substance.

    Starting with the claim language, claim 27 of the ‘748

patent recites an electrically insulative element “fabricated

from a material selected from the group consisting of plastic or

glass.”     A definition of “plastic” that encompassed “glass”

would render “glass” superfluous in this claim.         This would

violate the canon of claim construction that prefers “[a] claim

construction that gives meaning to all the terms of the claim .

. . over one that does not do so.”      Merck & Co. v. Teva Pharm.

USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005).         It appears to

the court that both parties’ proposed constructions, which

broadly focus on the moldability of the substance, would

encompass a wide variety of materials not commonly considered


                                   39
        Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 40 of 42




“plastic,” including glass.        As SignalQuest’s counsel

acknowledged at oral argument, at a high enough temperature,

glass, and even metal, can be molded.          Injecting the term

“easily” into the construction does not remedy this shortcoming.

     The patents’ specifications similarly discuss “plastic”

parts in the context of other materials.          For example, they

suggest that the first and second end caps -- the electrically

conductive elements -- “may be constructed from a composite of

high conductivity and/or low reactivity metals, a conductive

plastic, or any other conductive material.”           E.g., ‘748 patent

at 4:22-26, 6:10-13.       Similarly, the central member -- the

electrically insulative element -- “may be made of plastic,

glass, or any other nonconductive material” or of “a material

having a high melting point that is above that used by commonly

used soldering materials.”        E.g., id. at 5:61-67.      “Plastic,” in

these contexts, connotes the substance that the element is made

of, not the specific properties of how that substance is or was

made.

     Here, neither of the parties’ proposed constructions find

support in the intrinsic evidence.         In such a circumstance, as

discussed supra, it is incumbent on the court to independently

determine the claims’ meaning.        Exxon Chem. Patents, 64 F.3d at

1555.    The court concludes that, based on that evidence, it is


                                      40
     Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 41 of 42




not the moldability of the substance that informs a person of

skill in the art that the substance referred to in the claims is

a plastic, but rather the composition of that substance.          The

court accordingly adopts the definition of the noun form of the

word “plastic,” as “a synthetic material made from a wide range

of organic polymers, such as polyethylene, PVC, nylon, etc.,

that can be molded into shape while soft, and then set into a

rigid or slightly elastic form.”


    Conclusion

    For the reasons set forth above, the court adopts the

following constructions of the disputed claim terms:

    Term                Construction
    Diameter            the distance through the center of
                        something from one side to the other
    First diameter      the first diameter is distinct from
    and second          the second diameter
    diameter
    Electrically        an element able to conduct
    conductive          electricity
    element
    Electrically        an element that prevents or reduces
    insulative          the transmission of electricity
    element
    Distal surface      a surface opposite     in location to a
                        proximate surface
    Distal portion      a portion opposite     in location to a
                        proximate portion
    Distal end          an end opposite in     location to a
                        proximate end
    Proximate           a surface opposite     in location to a
    surface             distal surface
    Proximate           a portion opposite     in location to a
    portion             distal portion

                                   41
 Case 1:11-cv-00392-JL Document 124 Filed 06/13/16 Page 42 of 42




Proximate end       an end opposite in location to a
                    distal end
Top surface         the surface of the outer
                    circumference
Outer surface       the surface of the inner
                    circumference
Bottom surface      the surface that joins the top
                    surface and the bottom surface
Single internal     one surface on a side of the
surface             proximate portion of the electrically
                    conductive element that is opposite
                    to the flat end surface
Flat end surface    a boundary surface that is smooth,
                    level, or even
Cylindrical lip     no construction
Equal in            equal in any geometric dimension
dimension
Plastic             a synthetic material made from a wide
                    range of organic polymers, such as
                    polyethylene, PVC, nylon, etc., that
                    can be molded into shape while soft,
                    and then set into a rigid or slightly
                    elastic form

      SO ORDERED.

                                    ____________________________
                                    Joseph N. Laplante
                                    United States District Judge


Dated:   June 13, 2016

cc:   Brian David Thomas, Esq.
      Peter Anthony Nieves, Esq.
      Robert R. Lucic, Esq.
      Corey M. Weideman, Esq.
      Gregory Luck, Esq.
      Kristina Caggiano Kelly, Esq.
      Samuel W. Apicelli, Esq.
      Wesley W. Yuan, Esq.
      Bronwyn L. Roberts, Esq.
      Marc C. Rouvalis, Esq.
      Nicholas F. Casolaro, Esq.
      Timothy N. Trop, Esq.

                               42
